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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
MASSAPEQUA UNION FREE SCHOOL DISTRICT,
MASSAPEQUA UNION FREE SCHOOL DISTRICT
BOARD OF EDUCATION, JEANINE CARAMORE, in her NOTICE OF MOTION
capacity as a Board of Education Member and a
Resident/Parent of the School Community.
                                              23-cv-07052
                              Plaintiffs,     (SJB) (LGD)

               -against-

NEW YORK STATE BOARD OF REGENTS, LESTER W.
YOUNG, JR, in his official capacity as Chancellor of the
New York State Board of Regents, JOSEPHINE VICTORIA
FINN, in her official capacity as Vice Chancellor of the New
York State Board of Regents, ROGER TILLES, in his official
capacity as a member of the New York State Board of
Regents, CHRISTINE D. CEA, in her official capacity as a
member of the New York State Board of Regents, WADE S.
NORWOOD, in his official capacity as a member of the New
York State Board of Regents, KATHLEEN M. CASHIN, in
her official capacity as a member of the New York State
Board of Regents, JAMES E. COTTRELL, in his official
capacity as a member of the New York State Board of
Regents, JUDITH CHIN, in her official capacity as a member
of the New York State Board of Regents, CATHERINE
COLLINS, in her official capacity as a member of the New
York State Board of Regents, ELIZABETH S. HAKANSON,
in her official capacity as a member of the New York State
Board of Regents, LUIS O. REYES, in his official capacity
as a member of the New York State Board of Regents,
SUSAN W. MITTLER, in her official capacity as a member
of the New York State Board of Regents, FRANCES G.
WILLS, in her official capacity as a member of the New York
State Board of Regents, ARAMINA VEGA FERRER, in her
official capacity as a member of the New York State Board of
Regents, SHINO TANIKAWA, in her official capacity as a
member of the New York State Board of Regents, ROGER P.
CATANIA, in his official capacity as a member of the New
York State Board of Regents, ADRIAN I. HALE, in his
official capacity as a member of the New York State Board of
Regents.

                              Defendants.
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       PLEASE TAKE NOTICE that, upon the attached Declaration of Chelsea Weisbord,

together with the accompanying Memorandum of Law in Support of Plaintiffs’ Motion for Leave

to File a Second Amended Complaint, and attached exhibits, and all prior pleadings and

proceedings in this action, Plaintiffs Massapequa Union Free School District, Massapequa Union

Free School District Board of Education, and Jeanine Caramore will move this Court before the

Honorable Sanket J. Bulsara at the United States District Court for the Eastern District of New

York, located at 100 Federal Plaza, Central Islip, NY 11722, on a date and time to be determined

by the Court, for an Order pursuant to Fed. R. Civ. P. Rules 15(a) and 16(b)(4) granting Plaintiffs’

Motion for Leave to File a Second Amended Complaint, together with such other and further relief

as this Court deems just, equitable and proper.

Dated: Carle Place, New York
       May 19, 2025

                                                             SOKOLOFF STERN LLP
                                                             Attorneys for Plaintiffs


                                                      By:
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TO:
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